          Case 3:13-cv-01465-SI Document 41 Filed 10/25/13 Page 1 of 15




 1 Rick A. Cigel, Esq. (SBN 105424)
   Lori N. Schroeder, Esq. (SBN 149926)
 2
   THE CIGEL LAW GROUP, P.C.
 3 10866 Wilshire Blvd., Suite 400
   Los Angeles, California 90024
 4 Tel: (424) 901-8513
   Fax: (424) 901-8514
 5

 6 Attorneys for Defendant Doe 1
   And Third-Party Michael J. Schroeder
 7

 8

 9                              UNITED STATES DISTRICT COURT
10                      FOR THE NORTHERN DISTRICT OF CALIFORNIA
11

12                                                Case No. 13-cv-01465 SI
     HARMEET K. DHILLON, an individual,
13
                          Plaintiff,
                                                  SUR-REPLY BRIEF OF DEFENDANT DOE 1
14            vs.                                 AND THIRD-PARTY MICHAEL J.
                                                  SCHROEDER IN OPPOSITION TO
15 DOE 1, an unknown individual, and DOES 2       PLAINTIFF’S ADMINISTRATIVE MOTIONS
                                                  FOR LEAVE TO TAKE LIMITED DISCOVERY
16 through 10,                                    PRIOR TO A RULE 26(f) CONFERENCE
17                        Defendants.
                                                  [Concurrently filed with Declaration of Lori N.
                                                  Schroeder]
18
19

20

21

22

23

24

25

26
27
                                                 -i-
28   SUR-REPLY OF DOE 1 AND THIRD PARTY MICHAEL J. SCHROEDER TO PLAINTIFF’S ADMINISTRATIVE MOTIONS
     FOR LEAVE TO TAKE LIMITED DISCOVERY, Case No. 13-cv-01465 SI
                Case 3:13-cv-01465-SI Document 41 Filed 10/25/13 Page 2 of 15




 1                                                         TABLE OF CONTENTS

 2
       I.    INTRODUCTION AND FACTUAL CORRECTIONS. ............................................................. 1
 3

 4 II. DOE 1’S FIRST AMENDMENT RIGHTS OUTWEIGH DHILLON’S PURPORTED NEED

 5     FOR DISCLOSURE..................................................................................................................... 2

 6
   III. THIS COURT SHOULD CONSIDER THE “FAIR USE” DOCTRINE IN DETERMINING
 7      WHETHER TO QUASH PLAINTIFF’S SUBPOENA ............................................................... 4

 8
       IV. THE “FAIR USE” FACTORS WEIGH IN FAVOR OF QUASHING PLAINTIFF’S
 9         SUBPOENA ................................................................................................................................. 5
10
               A. PURPOSE AND CHARACTER OF THE USE ................................................................... 6
11

12             B. NATURE OF THE COPYRIGHTED WORK ..................................................................... 8
13

14 V. THE NINTH CIRCUIT HAS ADOPTED THE HIGHEST BURDEN OF PROOF WHEN
      POLITICAL SPEECH IS AT STAKE ......................................................................................... 9
15

16 VI. CONCLUSION .......................................................................................................................... 10

17

18
19

20

21

22

23

24

25

26
27
                                                                            - ii -
28      SUR-REPLY OF DOE 1 AND THIRD PARTY MICHAEL J. SCHROEDER TO PLAINTIFF’S ADMINISTRATIVE MOTIONS
        FOR LEAVE TO TAKE LIMITED DISCOVERY, Case No. 13-cv-01465 SI
               Case 3:13-cv-01465-SI Document 41 Filed 10/25/13 Page 3 of 15




 1                                               TABLE OF AUTHORITIES

 2 Cases

 3 Arista Records LLC v. Doe, 604 F.3d 110 (2d Cir.2010) ................................................................... 5

 4 Art of Living Foundation v. Does 1 – 10, 2011 WL 5444622 (N.D. Cal. 2011)........................ passim

 5 Calkins v. Playboy Enterprises Intern., Inc., 561 F.Supp.2d 1136 (E.D. Cal. 2008)........................... 7

 6 Campbell v. Acuff-Rose Music, Inc., 510 U.S. 569 (1994). ........................................................... 6, 8

 7 Chula Vista Citizens for Jobs & Fair Competition v. Norris,

 8       875 F. Supp. 2d 1128 (S.D. Cal. 2012) ........................................................................................... 10
 9 Dart Indus. Co. v. Westwood Chem. Co., 649 F.2d 646 (9th Cir.1980) ............................................. 2

10 Doe v. Cahill, 884 A.2d 451 (Del. 2005) ....................................................................................... 3, 10

11 Elvis Presley Enters. v. Passport Video, 349 F.3d 622 (9th Cir. 2003) ............................................... 5

12 Haberman v. Hustler Magazine, Inc., 626 F. Supp. 201 (D. Mass. 1986) ........................................... 8

13 Harper & Row Publishers, Inc. v. Nation Enters., 471 U.S. 539 (1985) ............................................. 4

14 Highfields Capital Management, L.P v. Doe, 385 F. Supp. 2d 969 (N.D. Cal. 2005) .................... 2, 5

15 In re Anonymous Online Speakers, 661 F.3d 1168 (9th Cir. 2011) ........................................... 3, 9, 10

16 Kelly v. Arriba Soft Corp., 336 F.3d 811 (9th Cir.2003) ................................................................ 6, 7

17 Leibovitz v. Paramount Pictures Corp., 137 F.3d 109 (2d Cir.1998) .................................................. 6

18 Mattel, Inc. v. Walking Mountain Productions, 353 F.3d 792 (9th Cir. 2003) .................................... 6
19 Meyer v. Grant, 486 U.S. 414 (1988) .................................................................................................. 9

20 Nunez v. Caribbean Intern. News Corp., 235 F.3d 18 (1st Cir.2000) ......................................... 6, 7, 8

21 Perfect 10, Inc. v. Amazon.com, Inc., 508 F.3d 1146 (9th Cir. 2007) ................................................. 6

22 Perry v. Schwarzenegger, 591 F.3d 1147 (9th Cir. 2010) .................................................................... 3

23 SaleHoo Grp., Ltd. v. ABC Co., 722 F. Supp. 2d 1210 (W.D. Wash. 2010) ...................................... 2

24 Sedgwick Claims Management Services, Inc. v. Delsman,

25       2009 WL 2157573 (N.D. Cal. 2009), aff'd, 422 Fed.Appx. 651(9th Cir. 2011). ............................. 6
26 SaleHoo Grp., Ltd. v. ABC Co., 722 F. Supp. 2d 1210, 1216-17 (W.D. Wash. 2010) ....................... 2
27
                                                                      - iii -
28      SUR-REPLY OF DOE 1 AND THIRD PARTY MICHAEL J. SCHROEDER TO PLAINTIFF’S ADMINISTRATIVE MOTIONS
        FOR LEAVE TO TAKE LIMITED DISCOVERY, Case No. 13-cv-01465 SI
             Case 3:13-cv-01465-SI Document 41 Filed 10/25/13 Page 4 of 15




 1 Selzer v. Green Day, Inc., 725 F.3d 1170, 1175 (9th Cir. 2013) .......................................................... 4

 2 SI03, Inc. v. Bodybuilding.com, LLC, 441 F. App'x 431 (9th Cir. 2011)......................................... 10

 3 Signature Mgmt. Team, LLC v. Automatic, Inc., ___F. Supp. 2d ___,

 4     2013 WL 1739480 at *9 (N.D. Cal. 2013) ....................................................................................... 3

 5 Sony Music Entertainment, Inc. v. Does 1 – 40, 326 F. Supp. 2d 556, 564 (S.D.N.Y. 2004). ....... 5, 9

 6

 7 Statutes

 8 17 U.S.C. § 107…………………………………………………………………………………….. 4

 9

10 Secondary Sources

11 N. Snow, “Judge Playing Jury: Constitutional Conflicts In Deciding Fair Use

12 On Summary Judgment,” 44 U.C. Davis L. Rev. 483, 489 (2010) ..................................................... 4

13

14

15

16

17

18
19

20

21

22

23

24

25

26
27
                                                                   - iv -
28     SUR-REPLY OF DOE 1 AND THIRD PARTY MICHAEL J. SCHROEDER TO PLAINTIFF’S ADMINISTRATIVE MOTIONS
       FOR LEAVE TO TAKE LIMITED DISCOVERY, Case No. 13-cv-01465 SI
                   Case 3:13-cv-01465-SI Document 41 Filed 10/25/13 Page 5 of 15




 1                          MEMORANDUM OF POINTS AND AUTHORITIES

 2         I. INTRODUCTION AND FACTUAL CORRECTIONS.

 3             In order to seek $250 in alleged copyright damages, Plaintiff has filed at least a half dozen

 4 motions or ex parte applications, two lengthy oppositions, and has sought to issue at least three

 5 subpoenas throughout California to find out who is behind the mungergames.net political internet

 6 blog. It is difficult to know what else Plaintiff may have done to that end, since Plaintiff only

 7 recently began providing notice to anyone about any of her numerous court filings.

 8             There is no dispute that this motion to quash implicates serious Constitutional rights that

 9 cannot be invaded lightly. Nonetheless, Plaintiff sought to slip these subpoenas through the court
10 system unnoticed by styling her court papers as “Ex Parte Applications” or “Administrative

11 Motions” and thus avoid notice requirements. Doe 1 and Mr. Schroeder only learned of the motions

12 by chance, and specifically had to contact this Court to determine their status and request an

13 opportunity to oppose them. Decl. of Lori N. Schroeder at ¶¶ 11 – 14, and Exh. “A”.

14             There is nothing routine or “administrative” about seeking to invade a party’s First

15 Amendment rights, and Plaintiff cannot make the requisite showing under any standard of proof.

16 That is because Doe 1’s “use” of Plaintiff’s out-of-date publicity headshot for purposes of political

17 criticism and commentary is Fair Use. Plaintiff argues that this Court cannot consider Fair Use at

18 this juncture, but Plaintiff is wrong.

19             In addition, even if this Court were to find that Plaintiff had made a sufficient showing of
20 copyright infringement – which Doe 1 adamantly asserts she did not and cannot do – this Court

21 would still have to balance the competing harms. This Court should find that the potential harm to

22 Doe 1 in unmasking his1 identity is far greater than any harm Plaintiff could possibly establish if her

23 subpoenas were disallowed.

24

25

26   1
     Though this brief uses a singular, male pronoun for Doe 1, no information is connoted by use of
27 such pronoun.

28                                                     -1-
         SUR-REPLY OF DOE 1 AND THIRD PARTY MICHAEL J. SCHROEDER TO PLAINTIFF’S ADMINISTRATIVE
         MOTIONS FOR LEAVE TO TAKE LIMITED DISCOVERY, Case No. 13-cv-01465 SI
                   Case 3:13-cv-01465-SI Document 41 Filed 10/25/13 Page 6 of 15




1              Doe 1’s counsel has already informed Plaintiff’s attorney that he will accept service on Doe

2 1’s behalf, so this $250 lawsuit can proceed fully even with Doe 1’s anonymity intact. Counsel’s

3 acceptance of service completely eliminates any of Plaintiff’s claimed need for the subpoenas.

4 II.          DOE 1’S FIRST AMENDMENT RIGHTS OUTWEIGH DHILLON’S PURPORTED
               NEED FOR DISCLOSURE
5
               As thoroughly discussed in Doe 1’s opening brief, regardless which standard of proof this
6
     Court employs, it must balance the potential harm to the defendant against the plaintiff’s supposed
7
     need for disclosure of his identity. See, SaleHoo Grp., Ltd. v. ABC Co., 722 F. Supp. 2d 1210,
8
     1216-17 (W.D. Wash. 2010); Highfields Capital Mgmt., L.P v. Doe, 385 F. Supp. 2d 969, 975
9
     (N.D. Cal. 2005) (court should “assess and compare the magnitude of the harms that would be
10
     caused to the competing interests by a ruling in favor of plaintiff and by a ruling in favor of
11
     defendant.”)
12
               Plaintiff argues that Doe 1 has not provided any proof of the potential harm he would suffer.
13
     First, case law states that irreparable harm to Doe 1 is presumed as a matter of law. Second, it is
14
     logically impossible for Doe 1 to provide “proof” of events that have not yet occurred.2
15
               The presumption of irreparable harm was stressed in Art of Living Foundation v. Does 1 –
16
     10, 2011 WL 5444622 (N.D. Cal. 2011). The court found that harm to defendant caused by
17
     disclosure was presumed as a matter of law. Relying on binding Ninth Circuit precedents, the Art
18
     of Living court stated, “[T]o the extent that [defendant’s] anonymity facilitates free speech, the
19
     disclosure of his identity is itself irreparable harm.” Art of Living, supra, 2011 WL 5444622 at *9
20

21   2 Plaintiff also argues that Mr. Schroeder is required to show some type of independent harm to
     himself, or alternatively that the emails sought from him are privileged. This is a red herring, as the
22   proposed subpoena to Mr. Schroeder also seeks to unmask the identity of Doe 1 and/or
23   mungergames.net. (Doc. 20, Exh. 2) Thus, the same potential harm is at issue. Further, the grossly
     overbroad proposed subpoena demands that Mr. Schroeder surrender six months of his own
24   personal emails, despite the fact he is not a party in this case and is an attorney. Dart Indus. Co. v.
     Westwood Chem. Co., 649 F.2d 646, 649 (9th Cir.1980) (“the word ‘non-party’ serves as a constant
25   reminder of the reasons for the limitations that characterize ‘third-party’ discovery”).
26
27

28                                                     -2-
         SUR-REPLY OF DOE 1 AND THIRD PARTY MICHAEL J. SCHROEDER TO PLAINTIFF’S ADMINISTRATIVE
         MOTIONS FOR LEAVE TO TAKE LIMITED DISCOVERY, Case No. 13-cv-01465 SI
                 Case 3:13-cv-01465-SI Document 41 Filed 10/25/13 Page 7 of 15




 1 (emphasis added), quoting Perry v. Schwarzenegger, 591 F.3d 1147, 1158 (9th Cir. 2010) (“One

 2 injury to Proponents’ First Amendment rights is the disclosure itself. Regardless of whether they

 3 prevail at trial, this injury will not be remediable on appeal.”). See also, In re Anonymous Online

 4 Speakers, 661 F.3d 1168, 1173 (9th Cir. 2011).

 5          The Art of Living court went on to note that defendant had “submitted a declaration

 6 expressing his concern that the adherents of [Plaintiff] would harass or retaliate against him or his

 7 family if his identity would be disclosed. (citation) Although the court did not find [defendant’s]

 8 evidence particularly reliable, it found the reasonable inference self-evident that unveiling

 9 [defendant’s] identity would subject him to harm and chill others from engaging in protected
10 speech.” Signature Mgmt. Team, LLC v. Automatic, Inc., ___F. Supp. 2d ___, 2013 WL 1739480

11 at *9 (N.D. Cal. 2013) (emphasis added), citing Art of Living.

12          As noted in Doe v. Cahill, 884 A.2d 451 (Del. 2005), a plaintiff could bring a non-

13 meritorious action against an anonymous defendant, knowing they will lose, but still be successful

14 in their main goal: unmasking their critic’s identity. “After obtaining the identity of an anonymous

15 critic through the compulsory discovery process, a . . . plaintiff who either loses on the merits or

16 fails to pursue a lawsuit is still free to engage in extra-judicial self-help remedies; more bluntly, the

17 plaintiff can simply seek revenge or retribution.” Id. at 457 (emphasis added). That is one of the

18 primary reasons the Cahill court adopted a “summary judgment” standard of proof for political

19 speech, rather than the lower good faith standard. Id.
20          By contrast, there is no compelling need for the disclosure of Doe 1’s identity at this time.

21 Plaintiff claims she cannot go forward with this lawsuit unless she determines Doe 1’s identity.

22 However, with the announcement that counsel for Doe 1 will accept service on behalf of Doe 1,

23 there is no longer any requirement for Plaintiff to learn Doe 1’s identity in order to serve Plaintiff’s

24 Complaint. The Art of Living court, as summarized in Signature Mgmt. Team, supra, 2013 WL

25 1739480 at *9, found that anonymity should be protected though the lawsuit is proceeding:

26       The court found no similar harm to the [plaintiff] should [defendant] remain anonymous,
27       noting that [defendant] had been engaged in the litigation and responsive to discovery

28                                                    -3-
      SUR-REPLY OF DOE 1 AND THIRD PARTY MICHAEL J. SCHROEDER TO PLAINTIFF’S ADMINISTRATIVE
      MOTIONS FOR LEAVE TO TAKE LIMITED DISCOVERY, Case No. 13-cv-01465 SI
                 Case 3:13-cv-01465-SI Document 41 Filed 10/25/13 Page 8 of 15



          requests. Art of Living at *10. The court noted that [defendant’s] identity may later need to
 1        be revealed to facilitate a deposition or to enforce any judgment obtained against him. Id.
 2        Even so, the court quashed the subpoena seeking [defendant’s] identity and stayed further
          discovery on that subject. Id.
 3
             Doe 1 has immediate plans to move forward with a summary judgment motion and request
 4
     for all attorneys’ fees, or alternatively a motion to dismiss and/or for Rule 11 sanctions in this case.
 5
     The Ninth Circuit has very recently stated that where “no material, historical facts are at issue and
 6
     the parties dispute only the ultimate conclusions to be drawn from those facts . . . [a court can]
 7
     conclude as matter of law that the challenged use [does or] does not qualify as a fair use of the
 8
     copyrighted work.” Selzer v. Green Day, Inc., 725 F.3d 1170, 1175 (9th Cir. 2013), quoting, Harper
 9
     & Row Publishers, Inc. v. Nation Enters., 471 U.S. 539, 564. See generally, N. Snow, “Judge
10
     Playing Jury: Constitutional Conflicts In Deciding Fair Use On Summary Judgment,” 44 U.C.
11
     Davis L. Rev. 483, 489 (2010) (“Today disputes over fair use are nearly always decided at summary
12
     judgment.”)
13
             As a matter of law, then, this Court can look at the uncontroverted evidence of what was
14
     posted on the mungergames.net website, evaluate the four Fair Use factors, and reach a legal
15
     conclusion. Doe 1 is confident that the factors tip overwhelmingly in favor of a finding of Fair Use,
16
     which will end this case as a matter of law prior to the need for any depositions.
17 III.      THIS COURT SHOULD CONSIDER THE “FAIR USE” DOCTRINE IN DETERMINING
18           WHETHER TO QUASH PLAINTIFF’S SUBPOENA
             The fair use doctrine is at the very heart of this matter, because there can be no copyright
19
     infringement if the use is fair. Selzer, supra, 725 F.3d at1175 (“17 U.S.C. § 107 establishes that fair
20
     use of a copyrighted work is not an infringement of copyright”).             Perhaps recognizing the
21
     overwhelming strength of Doe 1’s Fair Use argument, Plaintiff tries to sweep it under the rug.
22
             Plaintiff asserts that numerous courts, including the U.S. Supreme Court, have held that this
23
     court cannot consider the Fair Use doctrine in determining this motion to quash. This assertion is
24
     simply wrong. In addition to defying logic, the cases Plaintiff cites at page 18 actually stand for the
25
     exact opposite proposition.
26
             In Art of Living, supra, the court applied the two-part test set forth in Highfields, supra, 385
27

28                                                     -4-
      SUR-REPLY OF DOE 1 AND THIRD PARTY MICHAEL J. SCHROEDER TO PLAINTIFF’S ADMINISTRATIVE
      MOTIONS FOR LEAVE TO TAKE LIMITED DISCOVERY, Case No. 13-cv-01465 SI
                  Case 3:13-cv-01465-SI Document 41 Filed 10/25/13 Page 9 of 15




 1 F. Supp. 2d at 971 (granting anonymous internet speaker’s motion to quash subpoena to isp). At the

 2 first step, the plaintiff must produce competent evidence supporting a finding of each fact that is

 3 essential to a given cause of action. Secondly, the court must compare the magnitude of the harms

 4 that would be caused to the competing interests by a ruling in favor of the plaintiff and a ruling in

 5 favor of the defendant. Signature Mgmt. Team, supra, 2013 WL 1739480 at *9 (emphasis added),

 6 citing, Art of Living, supra, 2011 WL 5444622 at *7.

 7            The Art of Living court carefully balanced the competing harms and, on that basis alone,

 8 quashed the subpoena seeking the identity of an anonymous blogger. Therefore, the court had no

 9 reason to address the first factor, which would have implicated the Fair Use defense. Far from
10 stating that a court should not consider Fair Use on a motion to quash, the Art of living court stated:

11         It is worth noting, however, that because fair use is generally considered an affirmative
12         defense, a defendant’s conduct may be constitutionally protected even where a plaintiff
           establishes a prima facie case of copyright infringement. See, e.g., Elvis Presley Enters. v.
13         Passport Video, 349 F.3d 622, 626 (9th Cir. 2003) (Finding that although the plaintiff had
           shown ownership and copying, the district court did not abuse its discretion in finding fair
14         use). As the fair use doctrine enshrines an important first amendment protection, a court
           determining whether to unmask an anonymous defendant might consider fair use
15         arguments raised in a motion to quash even where the applicable standard requires only a
16         prima facie showing of the plaintiff’s claim. See, Arista Records LLC v. Doe, 604 F.3d
           110 (2d Cir.2010) (applying the Sony Music factors and rejecting defendants’ vague
17         allegations that their unauthorized downloading of plaintiffs’ musical recordings ‘may’ be
           protected by fair use).
18
     Art of Living, supra, 2011 WL 5444622 at *8, n.6 (emphasis added).
19
              This plain language is indisputable. Citing to both Ninth Circuit and Second Circuit
20
     precedent, the Art of Living court clearly stated that a court should consider the Fair Use affirmative
21
     defense when determining whether a plaintiff has met its burden of proof on a motion to quash.
22
     IV.      THE “FAIR USE” FACTORS WEIGH IN FAVOR OF QUASHING PLAINTIFF’S
23            SUBPOENA
24            The doctrine of Fair Use is discussed at length in Doe 1 and Schroeder’s Opposition.
25 Although Plaintiff does not dispute what the four factors are, she disputes essentially all of Doe 1’s

26 and Schroeder’s conclusions. Perhaps hoping this Court would adopt her ill-reasoned arguments to
27

28                                                      -5-
      SUR-REPLY OF DOE 1 AND THIRD PARTY MICHAEL J. SCHROEDER TO PLAINTIFF’S ADMINISTRATIVE
      MOTIONS FOR LEAVE TO TAKE LIMITED DISCOVERY, Case No. 13-cv-01465 SI
                 Case 3:13-cv-01465-SI Document 41 Filed 10/25/13 Page 10 of 15




 1 ignore Fair Use at this juncture, Plaintiff makes quick work of analyzing the four factors and does

 2 not address most of the cases cited in the Opposition. For purposes of this limited sur-reply brief,

 3 Doe 1 and Schroeder will readdress only the first two factors.

 4          A.      PURPOSE AND CHARACTER OF THE USE

 5          As discussed in Doe 1’s opening brief, whether a work is “transformative” is of utmost

 6 importance, and “[t]he more transformative the new work, the less important the other factors,

 7 including commercialism, become.” Campbell v. Acuff-Rose Music, Inc., 510 U.S. 569, 579

 8 (1994). The Opposition cites numerous cases establishing that publication of a photograph for

 9 purposes of criticizing the photograph’s subject matter is transformative, and thus Fair Use.
10          Plaintiff argues that the use of her headshot is not “transformative” because Doe 1 did not

11 alter the photo, and thus did not add any new expression, meaning or message. That argument was

12 soundly put to rest in the Sedgwick case, which states:

13       The question of fair use does not turn simply on whether the photographs themselves were
14       unaltered. Rather, as the relevant jurisprudence makes clear, the salient inquiry is whether
         the use of the photos, in the specific context used, was transformative. See Perfect 10, Inc.,
15       508 F.3d at 1164 (“a search engine puts images ‘in a different context’ so that they are
         ‘transformed into a new creation.’ ”) (emphasis added). In that regard, the Ninth Circuit
16       has consistently held that “making an exact copy of a work may be transformative so long
         as the copy serves a different function than the original work[.]” Id. (image originally used
17       for entertainment or aesthetic purposes was transformed where defendant used the same
18       image to facilitate use of an internet browser to locate information on the web); Kelly v.
         Arriba Soft Corp., 336 F.3d 811, 816 (9th Cir.2003) ( “exact replication” of protected
19       images was fair use where used in a different context from the original); Mattel, 353 F.3d
         at 802 (photographs of Barbie dolls “in various absurd and often sexualized positions”
20       parodied “Barbie's influence on gender roles and the position of women in society” and
         hence was transformative); see also Nunez v. Caribbean Intern. News Corp., 235 F.3d 18,
21
         22 (1st Cir.2000) (holding that use of unaltered pictures in conjunction with editorial
22       commentary gave them “new meaning” sufficient to transform the works into a
         “newsworthy” use); Leibovitz v. Paramount Pictures Corp., 137 F.3d 109, 115 n. 3 (2d
23       Cir.1998) (application of the fair use doctrine is particularly apropos where the use of the
         work disparages the original).
24
     Sedgwick Claims Management Services, Inc. v. Delsman, 2009 WL 2157573 (N.D. Cal. 2009)
25
     (emphasis added), aff'd, 422 Fed.Appx. 651 (9th Cir. 2011).
26
            Cases consistently hold that criticizing, debating or commenting on the subject of an
27

28                                                    -6-
      SUR-REPLY OF DOE 1 AND THIRD PARTY MICHAEL J. SCHROEDER TO PLAINTIFF’S ADMINISTRATIVE
      MOTIONS FOR LEAVE TO TAKE LIMITED DISCOVERY, Case No. 13-cv-01465 SI
                Case 3:13-cv-01465-SI Document 41 Filed 10/25/13 Page 11 of 15




1 unaltered photograph is transformative. It is difficult to argue with that premise, as the Fair Use

2 statute itself states that reproduction “for purposes such as criticism, comment, [or] news reporting”

3 is not an infringement of copyright. 17 U.S.C. § 107. In addition to the numerous cases already

4 cited in Doe 1’s opening brief (see pages 17 – 19), further research has revealed the following

5 additional cases.

6           In Calkins v. Playboy Enterprises Intern., Inc., 561 F.Supp.2d 1136, 1141 (E.D. Cal. 2008),

7 the court addressed whether republication of a centerfold model’s photograph was transformative

8 when used in an article about the model. The court stated:

9        In this regard, the Court finds PEI's use of the Photograph to be transformative because
10       although PEI made a replica of the Photograph, the reproduced image was much smaller
         and served an entirely different function than the original image. Mother Lode originally
11       created the Photograph for the limited purpose of being used as a gift by Shannon's family
         and friends [ ] while PEI used the Photograph, in conjunction with other photographs of
12       Shannon and a handwritten biography, for the purpose of personalizing Shannon by
         providing insight into her life, including how she grew up and what her interests are. [ ]
13       Thus, because PEI used the Photograph in a new context to serve a different function
14       (inform and entertain Playboy readers) than the original function (gifts for family and
         friends), PEI's use did not supersede the function of the original Photograph, and therefore
15       PEI's use is transformative. See Kelly, 336 F.3d at 818-19; see also, Nunez v. Caribbean
         Int'l News Corp., 235 F.3d 18, 22-23 (1st Cir.2000) (republication of photographs taken for
16       a modeling portfolio in a newspaper was transformative because the photos served to
         inform, as well as entertain). (emphasis added)
17
            In the Nunez case, plaintiff photographer had taken photos of “Joyce Giraud (Miss Puerto
18
     Rico Universe 1997) for use in Giraud's modeling portfolio. Núñez then distributed the photographs
19
     to various members of the Puerto Rico modeling community in accordance with normal practice.”
20
     Id., 235 F.3d at 21. A local television station reproduced the photographs for purposes of debate
21
     and commentary on whether the photos “were appropriate for a Miss Puerto Rico Universe, based
22
     on the fact that Giraud was naked or nearly naked in at least one of the photos.” Id. A magazine
23
     then republished the photos in articles about the controversy.
24
            Nunez sued for copyright infringement, and the court found Fair Use and dismissed the
25
     complaint with prejudice. The court stated, “[W]hat is important here is that plaintiffs’ photographs
26
     were originally intended to appear in modeling portfolios, not in the newspaper; the former use, not
27

28                                                    -7-
      SUR-REPLY OF DOE 1 AND THIRD PARTY MICHAEL J. SCHROEDER TO PLAINTIFF’S ADMINISTRATIVE
      MOTIONS FOR LEAVE TO TAKE LIMITED DISCOVERY, Case No. 13-cv-01465 SI
                 Case 3:13-cv-01465-SI Document 41 Filed 10/25/13 Page 12 of 15




 1 the latter, motivated the creation of the work. Thus, by using the photographs in conjunction with

 2 editorial commentary, El Vocero did not merely “supersede[ ] the objects of the original

 3 creation[s],” but instead used the works for “a further purpose,” giving them a new “meaning, or

 4 message.” Id. at 23, citing, Campbell v. Acuff-Rose Music, Inc., 510 U.S. 569, 579 (1994).

 5          In summary, Doe 1 indisputably placed Plaintiff’s publicity headshot in a different context

 6 and used it for a different purpose than originally intended. Plaintiff says she commissioned the

 7 headshot for publicity; Doe 1 posted the headshot for purposes of criticism and commentary.

 8 Overwhelming authority holds this is transformative, which weighs heavily in favor of Fair Use.

 9          B.      NATURE OF THE COPYRIGHTED WORK
10          Plaintiff argues that her headshot photo is “creative” because the photographer made certain

11 creative choices such as urging her to smile, lighting and location. However, as in the Nunez case,

12 where pictures were taken for a modeling portfolio, this does not warrant a finding of “creative”.

13 The Nunez court stated:

14       The district court suggested, and we agree, that Núñez's pictures could be categorized as
15       either factual or creative: certainly, photography is an art form that requires a significant
         amount of skill; however, the photographs were not artistic representations designed
16       primarily to express Núñez's ideas, emotions, or feelings, but instead a publicity attempt to
         highlight Giraud's abilities as a potential model. Cf. Haberman v. Hustler Magazine, Inc.,
17       626 F. Supp. 201, 211 (D. Mass. 1986) (reproduction of surrealistic art in magazine, where
         creativity counted against fair use finding).
18
     Nunez, supra, 235 F.3d at 23 (emphasis added).
19
             Likewise, in the present case, Plaintiff’s headshot was not meant to express her
20
     photographer’s ideas, emotions or feelings, but instead as publicity for Plaintiff as a political
21
     candidate. Complaint at ¶ 11. There is nothing in Plaintiff’s Complaint or any declaration that
22
     states that the photographer took Plaintiff’s photo for purposes of creating an original artistic work.
23
     Thus, this factor also weighs in favor of finding Fair Use.
24
            Also relevant to this factor is Plaintiff’s own statement that Doe 1 “cut-and-pasted the
25
     Headshot Photograph ‘from a previous [Dhillon] political campaign’ website”. (Reply Brief at p.
26
     3). Thus, Plaintiff admits she has previously published her headshot, which is a fact that also
27

28                                                    -8-
      SUR-REPLY OF DOE 1 AND THIRD PARTY MICHAEL J. SCHROEDER TO PLAINTIFF’S ADMINISTRATIVE
      MOTIONS FOR LEAVE TO TAKE LIMITED DISCOVERY, Case No. 13-cv-01465 SI
                  Case 3:13-cv-01465-SI Document 41 Filed 10/25/13 Page 13 of 15




 1 weighs in favor of a finding of Fair Use. Harper & Row, supra, 471 U.S. at 555.3

 2             In summary, considering the above case law in combination with the discussion of all Fair

 3 Use factors in the Opposition brief, this Court should find that the four factors overwhelmingly

 4 support a finding of Fair Use. Thus, under any standard, Plaintiff cannot meet her burden of proof

 5 of success on the merits sufficient to vanquish Doe 1’s First Amendment rights.

 6 V.          THE NINTH CIRCUIT HAS ADOPTED THE HIGHEST BURDEN OF PROOF WHEN
               POLITICAL SPEECH IS AT STAKE
 7
               Perhaps the most complicated issue this Court needs to address is what standard of proof is
 8
     required of Plaintiff before this Court can invade Doe 1’s First Amendment rights. Plaintiff argues
 9
     for a standard of proof from the Arista Records case, apparently because it is the only circuit court
10
     case addressing this issue in the copyright context. However, the Ninth Circuit has plainly stated
11
     that it is the type of speech that should be the determinative factor, and not the cause of action
12
     alleged. Art of Living, supra, 2011 WL 5444622 at *5.
13
               As stated in Anonymous Online Speakers, supra, 661 F.3d at 1177, “the nature of the
14
     speech should be a driving force in choosing a standard by which to balance the rights of
15
     anonymous speakers in discovery disputes.” The court noted that the speech at issue in Anonymous
16
     Online Speakers was purely commercial speech, and thus “should be afforded less protection than
17
     political, religious, or literary speech.” Id. Similarly, the Sony Music case (which formed the basis
18
     of the Arista Records decision) stated that illegal downloading of music “qualifie[d] as speech, but
19
     only to a degree” and thus deserved only protection that “is limited, and subject to other
20
     considerations.” Sony Music Ent., Inc. v. Does 1 – 40, 326 F. Supp. 2d 556, 564 (S.D.N.Y. 2004).
21
               By contrast, political speech is at the heart of the First Amendment and deserving of the
22
     highest protections. Anonymous Online Speakers, supra, 661 F.3d at 1173 citing, Meyer v. Grant,
23
     486 U.S. 414, 422, 425 (1988). The Court stressed that the First Amendment protection of “core
24
     political speech” is “at its zenith”. It is simply inappropriate to equate illegal music downloading
25

26
     Plaintiff’s claim that she “carefully restricted” any prior publication is belied by a simple internet
     3

27 search, which reveals hundreds of Plaintiff’s publicity photos. Schroeder Decl. at ¶ 15, Exh. “B”.

28                                                     -9-
         SUR-REPLY OF DOE 1 AND THIRD PARTY MICHAEL J. SCHROEDER TO PLAINTIFF’S ADMINISTRATIVE
         MOTIONS FOR LEAVE TO TAKE LIMITED DISCOVERY, Case No. 13-cv-01465 SI
                Case 3:13-cv-01465-SI Document 41 Filed 10/25/13 Page 14 of 15




 1 with robust political debate. See, Chula Vista Citizens for Jobs & Fair Competition v. Norris, 875

 2 F. Supp. 2d 1128, 1140-41 (S.D. Cal. 2012) (the degree of scrutiny varies depending on the

 3 circumstances and the type of speech at issue).

 4          This Court should apply the Cahill summary judgment standard to a case involving political

 5 speech, such as the present case. See, Doe v. Cahill, 884 A.2d 451 (Del.2005). This assertion is

 6 based on the Ninth Circuit’s recent statement in the Anonymous Online Speakers case. Plaintiff

 7 argues that Anonymous Online Speakers “did no more than refrain from overturning the District

 8 Court’s application of the Cahill standard”. (Reply at p. 16) However, it is difficult to argue with

 9 the following direct quotation from the Anonymous Online Speakers opinion: “Because Cahill
10 involved political speech, that court’s imposition of a heightened standard is understandable.” Id. at

11 1177. See also, SI03, Inc., supra, 441 F. App'x at 432 (9th Cir. 2011).

12          Doe 1’s full analysis of the proper standard to apply is contained in the previous brief at

13 pages 8 through 15. The analysis is complicated, and Plaintiff is free to disagree with Doe 1’s

14 conclusion. However, to accuse Doe 1 of “a blatant mischaracterization of the law” (Reply brief at

15 15) is unwarranted and hypocritical.

16 VI.      CONCLUSION

17          For all the foregoing reasons, Doe 1 and Schroeder respectfully request this Court to deny

18 both Administrative Motions.

19 Dated: October 25, 2013                     THE CIGEL LAW GROUP, P.C.
20

21
                                               By:__________/s/________________
22                                                 Rick A. Cigel, Attorneys for
                                                   DOE 1 and THIRD PARTY
23                                                 MICHAEL J. SCHROEDER
24

25

26
27

28                                                   - 10 -
      SUR-REPLY OF DOE 1 AND THIRD PARTY MICHAEL J. SCHROEDER TO PLAINTIFF’S ADMINISTRATIVE
      MOTIONS FOR LEAVE TO TAKE LIMITED DISCOVERY, Case No. 13-cv-01465 SI
       Case 3:13-cv-01465-SI Document 41 Filed 10/25/13 Page 15 of 15




 1                                               PROOF OF SERVICE

 2   UNITED STATES DISTRICT COURT FOR THE NORTHERN DISTRICT OF CALIFORNIA
 3
     CASE NAME: HARMEET K. DHILLON v. DOE 1
 4   CASE NO.   C 13-1465 SI

 5           The undersigned declares: I am a resident of the United States and am employed in the
     City and County of Los Angeles, State of California; I am over the age of eighteen years and
 6
     not a party to the within action; my business address is 10866 Wilshire Boulevard, Suite 400,
 7   Los Angeles, California 90024.

 8            On October 25, 2013, I served the following documents:

 9       1.   SUR-REPLY BRIEF OF DEFENDANT DOE 1 AND THIRD-PARTY MICHAEL J. SCHROEDER
              IN OPPOSITION TO PLAINTIFF’S ADMINISTRATIVE MOTIONS FOR LEAVE TO TAKE
10            LIMITED DISCOVERY PRIOR TO A RULE 26(f) CONFERENCE

11       2.   DECLARATION OF LORI N. SCHROEDER

12            By serving in the manner described below to the interested parties herein and addressed to:

13   Harold P. Smith                                            Joel Voelzke
     Krista L. Shoquist                                         Intellectual Property Law Office of Joel Voelzke
14   Dhillon & Smith, LLP                                       24772 W. Saddle Peak Road
     177 Post Street, Suite 700                                 Malibu, CA 90265-3042
15
     San Francisco, CA 94108
16                                                              Attorney for New Dream Network
     Attorneys for Dhillon
17
       x      ELECTRONIC MAILING: I emailed copies of all documents to the above party(s) at their
18            respective email addresses as shown above.

19            MAIL: I caused such envelope(s) to be deposited in the mail at my business address, with
              postage thereon fully prepaid, addressed to the addressee(s) designated. I am readily familiar
20            with the business practice of collecting and processing correspondence to be deposited with the
21            United States Postal Service on that same day in the ordinary course of business.

22     X      (FEDERAL): I declare that I am employed by the office of a member of the bar of this court at
              whose direction the service was made.
23
         Executed on October 25, 2013 at Los Angeles, California.
24
25                                                                                     /s/
                                                                             Lori N. Schroeder
26
27
28

                                                              1
                                                       Proof of Service
